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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                            District of New Jersey
                                          (State)                                                                                   ☐ Check if this is an
Case number (if known):                                        Chapter     11                                                           amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                     06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Brilliant National Services, Inc.


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer              1         3    -      2     9    2         2       1      1   3
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                      Mailing address, if different from principal place
                                                                                                        of business
                                       100 First Stamford Place
                                       Number                Street                                     Number         Street


                                                                                                        P.O. Box
                                       Stamford                            CT            06902
                                          City                            State          Zip Code       City                         State     Zip Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                       Fairfield County
                                          County                                                        Number         Street




                                                                                                        City                         State     Zip Code




5. Debtor’s website (URL)

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




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Debtor            Brilliant National Services, Inc.                                     Case number (if known)
           Name



                                              A. Check One:
7.   Describe debtor’s business
                                              ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                              ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                              ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                              ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                              ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                              ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                              ☒ None of the above

                                              B. Check all that apply:
                                              ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                 http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              2123 (Nonmetallic Mineral Mining and Quarrying)

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                      ☐   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                            noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                             $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                          operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                       not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                      ☐   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                          debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                          balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                          any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ☐   A plan is being filed with this petition.
                                                      ☐   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                          accordance with 11 U.S.C. § 1126(b).
                                                      ☐   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                          Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                          the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                          (Official Form 201A) with this form.
                                                      ☐   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No          District
   filed by or against the debtor       ☐ Yes.                                             When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                      District                             When                     Case number
     If more than 2 cases, attach a                                                                   MM/DD/YYYY
     separate list.




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Debtor           Brilliant National Services, Inc.                                    Case number (if known)
          Name



10. Are any bankruptcy cases            ☐ No
    pending or being filed by a         ☒ Yes.                                                                      Relationship    Affiliate
                                                     Debtor        See Rider 1
    business partner or an
    affiliate of the debtor?                         District      District of New Jersey
   List all cases. If more than 1,                                                                                  When            4/26/2023
   attach a separate list.                           Case number, if known _______________________                                  MM / DD / YYYY

11. Why is the case filed in this      Check all that apply:
    district?
                                       ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or have        ☒ No
    possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                 ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                       safety.
                                                       What is the hazard?

                                                 ☐     It needs to be physically secured or protected from the weather.

                                                 ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                        (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                        other options).
                                                 ☐     Other


                                                 Where is the property?
                                                                                         Number        Street



                                                                                         City                               State       Zip Code



                                                 Is the property insured?
                                                 ☐ No

                                                 ☐ Yes.         Insurance agency

                                                                Contact name
                                                                Phone




                  Statistical and administrative information

13. Debtor's estimation of            Check one:
    available funds
                                      ☒ Funds will be available for distribution to unsecured creditors.
                                      ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

14. Estimated number of               ☐     1-49                         ☒       1,000-5,000                    ☐     25,001-50,000
    creditors (on a                   ☐     50-99                        ☐       5,001-10,000                   ☐     50,001-100,000
    consolidated basis)               ☐     100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                      ☐     200-999




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          Name



15. Estimated assets (on a             ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
    consolidated basis)                ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                       ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                       ☐       $500,001-$1 million        ☒     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities (on          ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
    a consolidated basis)              ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☒   $1,000,000,001-$10 billion
                                       ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☐   $10,000,000,001-$50 billion
                                       ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of           petition.
    debtor
                                           I have been authorized to file this petition on behalf of the debtor.
                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                           correct.

                                   I declare under penalty of perjury that the foregoing is true and correct.

                                           Executed on         4/26/2023
                                                                MM/ DD / YYYY


                                                /s/ Mohsin Meghji                                                  Mohsin Meghji
                                                Signature of authorized representative of debtor                Printed name

                                                Title    Chief Restructuring Officer




18. Signature of attorney                       /s/ Michael D. Sirota                                          Date        4/26/2023
                                                Signature of attorney for debtor                                           MM/DD/YYYY



                                                Michael D. Sirota
                                                Printed name
                                                Cole Schotz P.C.
                                                Firm name
                                                Court Plaza North, 25 Main Street
                                                Number                 Street
                                                                                                                          New
                                                Hackensack                                                               Jersey          07601
                                                City                                                                   State               ZIP Code

                                                (201) 489-3000                                                         msirota@coleschotz.com
                                                Contact phone                                                              Email address
                                                014321986                                           New Jersey
                                                Bar number                                          State




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                                                                     ,
 United States Bankruptcy Court for the:
                           District of New Jersey
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                              Chapter   11                                       amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the District of New Jersey for relief under chapter 11 of title 11 of the United States Code.
The Debtors have moved for joint administration of these cases under the case number assigned to the chapter 11
case of Whittaker, Clark & Daniels, Inc.

     Whittaker, Clark & Daniels, Inc.
     Brilliant National Services, Inc.
     L. A. Terminals, Inc.
     Soco West, Inc.
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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY

                                                          )
    In re:                                                )     Chapter 11
                                                          )
    BRILLIANT NATIONAL SERVICES, INC.,                    )     Case No. 23-___________(___)
                                                          )
                             Debtor.                      )
                                                          )

                                  LIST OF EQUITY SECURITY HOLDERS1

                                                                             Type of      Percentage of
             Equity Holder             Address of Equity Holder
                                                                             Interest      Equity Held
                                  100 First Stamford Place, Stamford, CT     Common
    Ringwalt & Liesche Co.                                                                     100%
                                                  06902




1      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the
       Federal Rules of Bankruptcy Procedure. All equity positions listed indicate the record holder of such
       equity as of the date of commencement of the chapter 11 case.
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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

                                                      )
 In re:                                               )      Chapter 11
                                                      )
 BRILLIANT NATIONAL SERVICES, INC.,                   )      Case No. 23-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                 Shareholder                              Approximate Percentage of Shares Held
 Ringwalt & Liesche Co.                                                   100%
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    Fill in this information to identify the case:

    United States Bankruptcy Court for the:
                        District of New Jersey
                                   (State)                                                                                               ☐ Check if this is an
    Case number (if                                                                                                                          amended filing
    known):                                  Chapter                         11




        Chapter 11 Cases: List of Law Firms Representing the Tort Plaintiffs                                                                                        12/15

        Whittaker, Clark & Daniels, Inc., Brilliant National Services, Inc., Soco West, Inc., and L. A. Terminals, Inc. (the “Debtors”) each filed a petition in
        this Court on the date hereof for relief under chapter 11 of title 11 of the United States Code. The following is a consolidated list of parties that
        represent or have represented the known parties that have alleged claims against the Debtors related to tort claims (the “Top Counsel List”).
        Substantially contemporaneously with this petition, the Debtors have filed a motion seeking authority to file this Top Counsel List in lieu of a list
        of the 20 largest unsecured creditors.1 This list does not include any person or entity who is an “insider” under section 101(31) of title 11 of the
        United States Code. The Top Counsel List was prepared for with information existing as of the date hereof. The Debtors reserve the right to
        amend the Top Counsel List based on additional information it may identify. The information contained in the Top Counsel List shall not
        constitute an admission by, nor shall it be binding on, the Debtors.


         Name of creditor and complete                Name, telephone number, and email   Nature of    Indicate if claim   Amount of unsecured claim
         mailing address, including zip code          address of creditor contact         the claim    is contingent,      If the claim is fully unsecured, fill in only unsecured
                                                                                          (for         unliquidated, or    claim amount. If claim is partially secured, fill in
                                                                                          example,     disputed            total claim amount and deduction for value of
                                                                                          trade                            collateral or setoff to calculate unsecured claim.
                                                                                          debts,
                                                                                          bank
                                                                                          loans,
                                                                                          profession
                                                                                          al
                                                                                          services,                        Total claim, if    Deduction for       Unsecured
                                                                                          and                              partially          value of            claim
                                                                                          governme                         secured            collateral or
                                                                                          nt                                                  setoff
                                                                                          contracts)
    1                                                David C. Greenstone
         Simon Greenstone Panatier, PC                                                                 Contingent/
                                                     (214) 276-7680
         1201 Elm St.                                                                     Litigation   Unliquidated/       N/A               N/A                 Undetermined
                                                     dgreenstone@sgpblaw.com
         Dallas, TX 75270                                                                              Disputed


    2                                                Perry Weitz
                                                     pweitz@weitzlux.com
         Weitz & Luxenberg, P.C.                     (856) 755-1115                                    Contingent/
         700 Broadway                                                                     Litigation   Unliquidated/       N/A               N/A                 Undetermined
         New York, NY 10003                          Danny Kraft                                       Disputed
                                                     dkraftjr@weitzlux.com
                                                     (212) 558-5500

    3
         SWMW Law, LLC                               Benjamin Schmickle                                Contingent/
         701 Market St.., Unit 1000                  ben@swmklaw.com                      Litigation   Unliquidated/       N/A               N/A                 Undetermined
         St. Louis, MO 63101                         (314) 862-2882                                    Disputed



    4                                                T. Barton French
         Maune Raichle Hartley French &              (314) 244-1397
                                                                                                       Contingent/
         Mudd, LLC                                   bfrench@mrhfmlaw.com
                                                                                          Litigation   Unliquidated/       N/A               N/A                 Undetermined
         1015 Locust St., Ste. 1200
                                                                                                       Disputed
         St. Louis, MO, 63101                        Neil Maune
                                                     nmaune@mrhfmlaw.com




1            This list is in substantially the same form as Official Bankruptcy Form 204 for chapter 11 cases setting forth the list of creditors other than insiders, who
             have the 20 largest unsecured claims against a debtor.
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Debtor Name: Whittaker, Clark & Daniels, Inc.                                      Case Number (if known):____________________
                                          James Heisman
 5                                        JHeisman@napliLaw.com
     Napoli Shkolnik PLLC                 (844) 230-7676                                   Contingent/
     360 Lexington Ave., 11th floor                                           Litigation   Unliquidated/   N/A      N/A          Undetermined
     New York, NY 10017                   Christopher LoPalo                               Disputed
                                          clopalo@napolibern.com

 6   Levy Konigsberg LLP                  Moshe Maimon                                     Contingent/
     800 3rd Ave., 33rd floor             mmaimon@levylaw.com                 Litigation   Unliquidated/   N/A      N/A          Undetermined
     New York, NY 10158                   (609) 720-0400                                   Disputed


 7                                  Jessica Dean
     Dean Omar Branham Shirley, LLP                                                        Contingent/
                                    jdean@dobslegal.com
     302 N. Market St.                                                        Litigation   Unliquidated/   N/A      N/A          Undetermined
                                    (214) 722-5990
     Dallas, TX 75202                                                                      Disputed


 8   Simmons Hanly Conroy LLC             Laurence v. Nassif                               Contingent/
     1 Court St.                          lnassif@simmonsfirm.com             Litigation   Unliquidated/   N/A      N/A          Undetermined
     Alton, Illinois 62002                (212) 257-8482                                   Disputed


 9   Early, Lucarelli, Sweeney &
                                          James F. Early                                   Contingent/
     Meisenkothen, LLC
                                          (203) 777-7799                      Litigation   Unliquidated/   N/A      N/A          Undetermined
     360 Lexington Ave., 20th Floor
                                          jfe@elslaw.com                                   Disputed
     New York, NY 10017

    Cohen, Placitella & Roth, P.C.        Christopher Placitella                           Contingent/
 10 2001 Market St., Ste. 2900            cplacitella@cprlaw.com              Litigation   Unliquidated/   N/A      N/A          Undetermined
    Philadelphia, PA 19103                (888) 219-3599                                   Disputed

                                          Sara Salger
                                          sara@gorilaw.com
 11 The Gori Law Firm                     (618) 247-4247
                                                                                           Contingent/
    156 N. Main St.                                                           Litigation   Unliquidated/   N/A      N/A          Undetermined
    Edwardsville, IL 62025                                                                 Disputed
                                          D. Todd Matthews
                                          todd@gorijulianlaw.com
                                          Mark Lanier
                                          WML@LanierLawFirm.com
 12 The Lanier Law Firm                   (212) 421-2800
                                                                                           Contingent/
    10940 W. Sam Houston Pkwy             Michael A. Akselrud                Litigation    Unliquidated/   N/A      N/A          Undetermined
    Houston, TX 77064                     Michael.Akselrud@LanierLawFirm.com               Disputed
                                          (310) 277-5100



    Meirowitz & Wasserberg, LLP           Daniel Wasserberg                                Contingent/
 13 1040 6th Ave., Ste. 12B               dw@mwinjurylaw.com                  Litigation   Unliquidated/   N/A      N/A          Undetermined
    New York, NY 10018                    (212) 897-1988                                   Disputed


    Waters Kraus & Paul                   Sam Iola                                         Contingent/
 14 3141 Hood St., Ste. 200               siola@waterskraus.com               Litigation   Unliquidated/   N/A      N/A          Undetermined
    Dallas, Texas 75219                   (214) 357-6244                                   Disputed


    Belluck & Fox, LLP                    Joseph W. Belluck                                Contingent/
 15 546 5th Ave., 5th Floor               jbelluck@belluckfox.com             Litigation   Unliquidated/   N/A      N/A          Undetermined
    New York, NY 10036                    (212) 681-1575                                   Disputed


    Karst & Von Oiste LLP                 Erik Karst                                       Contingent/
 16 505 Main St.                          epk@karstvonoiste.com               Litigation   Unliquidated/   N/A      N/A          Undetermined
    Port Jefferson, NY 11777              (281) 970-9988                                   Disputed


    Phillips & Paolicelli, LLP            Daniel J. Woodard                                Contingent/
 17 747 3rd Ave., 6th floor               dwoodard@p2law.com                  Litigation   Unliquidated/   N/A      N/A          Undetermined
    New York, NY 10017                    (212) 388-5100                                   Disputed

    Kazan, McClain, Satterley &
                                          David McClain
    Greenwood, A Professional Law                                                          Contingent/
 18 Corporation                           Joseph Satterley
                                                                              Litigation   Unliquidated/   N/A      N/A          Undetermined
                                          (510) 302-1000
    55 Harrison St., Ste. 400                                                              Disputed
                                          jsatterley@kazanlaw.com
    Oakland, CA 94607

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 19 Nachawati Law Group (f/k/a Fears Majed Nachawati                                Contingent/
    Nachawati)
                                     mn@ntrial.com                     Litigation   Unliquidated/   N/A      N/A          Undetermined
    5489 Blair Rd.
                                     (214) 890-0711                                 Disputed
    Dallas, TX 75231

 20 Kelley Ferraro, LLC                   John Martin Murphy                        Contingent/
    950 Main Ave., Ste. 1300              (216)-238-8657               Litigation   Unliquidated/   N/A      N/A          Undetermined
    Cleveland, OH 44113                   jmurphy@kelley-ferraro.com                Disputed




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                    CONSENT TO CORPORATE ACTION
                 BY THE BOARDS OF DIRECTORS OF EACH
       OF THE COMPANIES SET FORTH ON EXHIBIT A ATTACHED HERETO

        The undersigned, being all of the members of the Boards of Directors (each, a
“Board” and collectively, the “Boards”) of Brilliant National Services Inc., a Delaware
corporation, and certain of its direct and indirect subsidiaries identified on Exhibit A (each,
a “Company,” and collectively, the “Companies”), having considered the filing of voluntary
petitions for relief under the provisions of title 11 of the United States Code, 11 U.S.C.
§ 101 et seq. (the “Bankruptcy Code” and such petitions, “Bankruptcy Petitions”) and
exploring strategic and/or financial alternatives in light of the Companies’ current
circumstances, including possibilities of undertaking a restructuring, reorganization, or
other transaction and related financing (each of the foregoing and any combination of the
foregoing, a “Restructuring Transaction”);

       WHEREAS, the Boards have reviewed and considered the following:

       1.     the presentations by the Companies’ management and the legal and
              financial advisors of the Companies regarding the liabilities and liquidity of
              the Companies and the strategic alternatives available to them;

       2.     the information and advice previously provided to and reviewed by the
              Boards; and

       3.     the related matters reported on at meetings of the Boards on and before the
              date hereof;

      WHEREAS, the Boards have had the opportunity to consult with the Companies’
management and the legal and financial advisors of the Companies and to fully consider
each of the strategic alternatives available to the Companies; and

      WHEREAS, the Boards have determined, in their business judgment, that it is
desirable and in the best interests of the Companies and their respective stakeholders for
the Companies to file, or cause the filing of, voluntary petitions under chapter 11 of the
Bankruptcy Code and that such action will benefit the Companies and their respective
stakeholders.

Authorizing the Filing of Bankruptcy Petitions

        NOW, THEREFORE, IT IS RESOLVED, that the Companies are authorized to file
voluntary petitions for relief under chapter 11 of the Bankruptcy Code and seek necessary
relief;

       FURTHER RESOLVED, that, in the judgment of the Boards, it is desirable and in
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the best interests of the Companies, their interest holders, their creditors, and other parties
in interest, that the Companies file, or cause to be filed, Bankruptcy Petitions under the
provisions of the Bankruptcy Code in the United States Bankruptcy Court for the District of
New Jersey or such other court of competent jurisdiction (the “Court”). In accordance with
the requirements of the Companies’ governing documents and applicable law, the Boards
hereby consent to, authorize, and approve the filing of the Bankruptcy Petitions; and

        FURTHER RESOLVED, that any director, officer, or other duly appointed officer of
the Companies (each an “Authorized Person” and collectively, the “Authorized
Persons”) is hereby authorized and appointed to act as signatory and attorney on behalf
of the Companies in respect of any Restructuring Transaction, and/or any person to whom
such Authorized Persons and/or officers delegate certain responsibilities is hereby
authorized to execute (under the common seal of the Companies, if appropriate) and file
on behalf of the Companies all petitions, schedules, lists, and other motions, papers, or
documents, and to take any and all actions they deem necessary or proper to obtain such
relief.

Retention of Professionals

        FURTHER RESOLVED, that each of the Authorized Persons is hereby authorized,
empowered, and directed to, on behalf of the Companies, employ: (i) the law firm of
Kirkland & Ellis LLP as general bankruptcy counsel; (ii) the law firm of Cole Schotz P.C.
as co-bankruptcy counsel; (iii) M3 Partners LLC as financial advisor; (iv) Stretto, Inc. as
claims and noticing agent; and (v) any other legal counsel, accountant, financial advisor,
restructuring advisor, estimation professional, or other professional the Authorized
Persons deem necessary, appropriate, or advisable to retain; each to represent and assist
the Companies in carrying out their duties and responsibilities and exercising their rights
under the Bankruptcy Code and any applicable law (including, but not limited to, the law
firms filing any pleadings or responses); and in connection therewith, the Authorized
Persons are hereby authorized, empowered, and directed, in accordance with the terms
and conditions hereof, to execute (under the common seal of the Companies, if
appropriate) appropriate retention agreements, pay appropriate retainers, and to cause to
be filed appropriate applications for authority to retain such services; and

       FURTHER RESOLVED, that each of the Authorized Persons is hereby authorized,
empowered, and directed to execute (under the common seal of the Companies, if
appropriate) and file all petitions, schedules, motions, lists, applications, pleadings, and
other papers, and to perform such further actions and execute (under the common seal of
the Companies, if appropriate) such further documentation that the Authorized Persons in
their absolute discretion deem necessary, appropriate, or desirable in accordance with
these resolutions.
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General

       FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, the Authorized Persons, either individually or as
otherwise required by the Companies’ governing documents and applicable law, are
hereby authorized to execute (under the common seal of the Companies, if appropriate),
acknowledge, deliver, and file any and all agreements, certificates, instruments, powers of
attorney, letters, forms, transfers, deeds, and other documents on behalf of the Companies
relating to the Restructuring Transactions;

        FURTHER RESOLVED, that each of the Authorized Persons (and their designees
and delegates) is hereby authorized and empowered, in the name of and on behalf of the
Companies, to take or cause to be taken any and all such other and further action, and to
execute (under the common seal of the Companies, if appropriate), acknowledge, deliver,
and file any and all such agreements, certificates, instruments, and other documents, and
to pay all expenses, including but not limited to filing fees, in each case as in such
Authorized Person’s or Authorized Persons’ absolute discretion, as shall be necessary,
appropriate, or desirable in order to fully carry out the intent and accomplish the purposes
of the resolution adopted herein;

        FURTHER RESOLVED, that the Boards have received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions,
as may be required by the governing documents of the Companies, or hereby waive any
right to have received such notice;

       FURTHER RESOLVED, that all acts, actions, and transactions relating to the
matters contemplated by the foregoing resolutions done in the name of and on behalf of
the Companies, which acts would have been approved by the foregoing resolutions except
that such acts were taken before the adoption of these resolutions, are hereby in all
respects approved, confirmed, and ratified as the true acts and deeds of the Companies
with the same force and effect as if each such act, transaction, agreement, or certificate
had been specifically authorized in advance by resolution of the Boards; and

       FURTHER RESOLVED, that any Authorized Person is hereby authorized to
perform all other acts, deeds, and other actions as the Companies themselves may
perform, in accordance with their governing documents and applicable law, howsoever
arising in connection with the matters above, or in furtherance of the intentions expressed
in the foregoing resolutions, including, but not limited to, the negotiation, finalization,
execution (under common seal, whether or not expressed to be a deed, as may be
necessary or appropriate), and delivery of any other agreements, certificates, instruments,
powers of attorney, letters, forms, transfers, deeds, and other documents whatsoever as
the individual acting may in their absolute and unfettered discretion approve or deem or
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determine necessary, appropriate, or advisable, such approval, deeming, or determination
to be conclusively evidenced by said individual taking such action or the execution thereof.

                                          ****
                                 [Signature pages follow]
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   IN WITNESS WHEREOF, the undersigned, being all the directors of the Companies,
have executed this unanimous consent to be effective as of the date first written above.
This unanimous consent may be signed by facsimile or other electronic means, with any
such signature being of the same force and effect as an original signature, and in multiple
counterparts, all of which will constitute one document.

DATED: April 25, 2023




Raj R. Mehta                                 Paul Aronzon




                                        Tim Pohl
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   IN WITNESS WHEREOF, the undersigned, being all the directors of the Companies,
have executed this unanimous consent to be effective as of the date first written above.
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such signature being of the same force and effect as an original signature, and in multiple
counterparts, all of which will constitute one document.

DATED: April 25, 2023




Raj R. Mehta                                 Paul Aronzon




                                        Tim Pohl
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            DATED: April 25, 2023




            Raj R. Mehta                                         Paul Aronzon




                                                             Tim Pohl
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                                     Exhibit A
                                    Subsidiaries

                                Name                         Jurisdiction
        Soco West, Inc.                                       Delaware
        L.A. Terminals, Inc.                                  California
        Whittaker, Clark & Daniels, Inc.                     New Jersey
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    Fill in this information to identify the case and this filing:

   Debtor Name          Brilliant National Services, Inc.

   United States Bankruptcy Court for the:                District of New Jersey
                                                                                                    (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders, Corporate Ownership Statement,
            and Certification of Creditor Matrix
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       4/26/2023                                    /s/ Mohsin Meghji
                                       MM/ DD/YYYY                                 Signature of individual signing on behalf of debtor
                                                                                   Mohsin Meghji
                                                                                   Printed name
                                                                                   Chief Restructuring Officer
                                                                                   Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
